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 ATTORNEYS FOR NEXPOINT ADVISORS, L.P.
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                         §
                                                §
                                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                   §
 L.P.,                                          §
                                                             Case No. 19-34054-sgj11
                                                §
          Debtor.                               §
                                                §
 HIGHLAND CAPITAL MANAGEMENT,                   §
 L.P.,                                          §
                                                §
                                                          Civ. Act. No. 3:21-cv-00881-X
          Plaintiff,                            §
                                                §
                                                       (Consolidated with 3:21-cv-00880-X,
 v.                                             §
                                                        3:21-cv-01010-X, 3:21-cv-01378-X,
                                                §
                                                                 3:21-cv-01379-X)
 HIGHLAND CAPITAL MANAGEMENT                    §
 FUND ADVISORS, L.P.,                           §
                                                §
          Defendant.                            §

                  MOTION FOR RULING ON PENDING OBJECTIONS IN
                 ADMINISTRATIVELY CLOSED CONSOLIDATED CASES

          COME NOW NexPoint Advisors, L.P. (“NexPoint”), Highland Capital Management

Services, Inc. (“HCMS”), and HCRE Partners, LLC (“HCRE”), three of the defendants in the

above styled and numbered consolidated adversary proceedings initiated by Highland Capital

Management, L.P. as the plaintiff (the “Debtor”), and file this their Motion for Ruling on Pending

Objections in Administratively Closed Consolidated Cases, respectfully stating as follows:




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       On January 5, 2021, NexPoint filed the following documents in Civ. Act. No. 3:21-cv-

00880-X, copies of which are attached hereto:

           •   Objection of NexPoint Advisors, L.P. to Order Denying Motions to Extend Expert
               Disclosure and Discovery Deadlines (Dkt. 21, the “NexPoint Objection”);

           •   Brief in Support of Objection of NexPoint Advisors, L.P. to Order Denying Motions
               to Extend Expert Disclosure and Discovery Deadlines (Dkt. 22, the “Brief”); and

           •   Appendix in Support of Objection of NexPoint Advisors, L.P. to Order Denying
               Motions to Extend Expert Disclosure and Discovery Deadlines (Dkt. 23,
               “Appendix”).

       Also on January 5, 2022, defendants HCMS and HCRE filed their Defendants Highland

Capital Management Services, Inc. and HCRE Partners, LLC’s Objection to Order Denying

Motions to Extend Expert Disclosure and Discovery Deadlines in Civ. Act. Nos. 3:21-cv-01378-

X (Dkt. 26) and 3:21-cv-01379-X (Dkt. 23) (with the NexPoint Objection, the “Objections”),

copies of which are attached hereto, pursuant to which they incorporated the NexPoint Objection

by reference, seeking the same relief.

       On January 6, 2022, however, the Court entered orders consolidating Civ. Act. Nos. 3:21-

cv-00880-X, 3:21-cv-01378-X, and 3:21-cv-01379-X with two others under lead case 3:21-cv-

00881-X. Accordingly, at the request of the Clerk and pursuant to the Court’s docket order dated

January 12, 2022, NexPoint, HCMS, and HCRE file this motion to bring these items onto the

docket of the new lead case.

       WHEREFORE, PREMISES CONSIDERED, NexPoint, HCMS, and HCRE respectfully

request that the Court enter an order sustaining the Objections and granting them such other and

further relief to which they entitled at law or in equity.

       RESPECTFULLY SUBMITTED this the 14th day of January, 2022.




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                                   -and-

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ADMINISTRATIVELY CLOSED CONSOLIDATED CASES                                    Page 3
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                                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on January 5, 2022, true and correct copies of the
NexPoint Objection, Brief, and Appendix were served on the following recipients via the Court’s
CM/ECF system when they were filed in Civ. Act. No. 3:21-cv-00880-X:

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       Additionally, the undersigned hereby certifies that, on January 14, 2022, a true and correct
copy of the foregoing document, including copies of the Objections, Brief, and Appendix, were
served on the following recipients via the Court’s CM/ECF system when they were filed in Civ.
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